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  9
                           UNITED STATES DISTRICT COURT
 10                      SOUTHERN DISTRICT OF CALIFORNIA
 11
 12                                              Master File No. 3:16-CV-03044-L-
 13   IN RE ILLUMINA, INC.                       MDD
      SECURITIES LITIGATION
 14                                              CLASS ACTION
 15
                                                 AMENDED COMPLAINT FOR
 16
                                                 VIOLATION OF THE FEDERAL
 17                                              SECURITIES LAWS
 18
                                                 DEMAND FOR JURY TRIAL
 19
 20                                              Judge: Hon. M. James Lorenz

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  1         Lead Plaintiff Natissisa Enterprises Ltd. (“Lead Plaintiff”), individually and
  2   on behalf of all other persons similarly situated, by their undersigned attorneys,
  3   alleges in this Amended Complaint for violations of the federal securities laws
  4   (the “Complaint”) the following based upon knowledge with respect to their own
  5   acts, and upon facts obtained through an investigation conducted by his counsel,
  6   which included, inter alia: (a) review and analysis of relevant filings made by
  7   Illumina, Inc. (“Illumina” or the “Company”) with the United States Securities
  8   and Exchange Commission (the “SEC”); (b) review and analysis of Illumina’s
  9   public documents, conference calls, press releases, and stock chart; (c) review and
 10   analysis of securities analysts’ reports and advisories concerning the Company;

 11   and (d) information readily obtainable on the internet.

 12         Lead Plaintiff believes that further substantial evidentiary support will exist
 13   for the allegations set forth herein after a reasonable opportunity for discovery.
 14   Most of the facts supporting the allegations contained herein are known only to
 15   the defendants or are exclusively within their control.
 16                              NATURE OF THE ACTION
 17         1.     This is a federal securities class action on behalf of a class consisting
 18   of all persons or entities, other than Defendants, Illumina’s directors and officers,
 19   and their families and affiliates, who purchased or otherwise acquired Illumina
 20   common stock between July 26, 2016, and October 10, 2016, inclusive (the “Class
 21   Period”), seeking to recover damages caused by Defendants’ violations of the
 22   federal securities laws (the “Class”).
 23         2.      Defendants provided investors with material information concerning
 24   Illumina’s revenue and sales for the third quarter of fiscal 2016. Defendants’
 25
      statements included, among other things, that Illumina’s pipeline of sales
 26
      supported Defendants’ decision to forecast revenue of $625 million to $630
 27
      million for the quarter and increase its earnings-per-share estimates from between
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  1   $3.35 per share and $3.45 per share to between $3.48 per share and $3.58 per
  2   share. Defendants’ statements in this regard prompted an immediate and dramatic
  3   increase in the price of Illumina’s common stock. From a closing price of $150.10
  4   per share on July 26, 2016 at the start of the Class Period, Illumina’s stock price
  5   climbed to $162.25 the following day on July 27, 2016 on unusually high volume.
  6         3.     Defendants provided these overwhelmingly positive statements to
  7   investors while, at the same time, omitting to tell the public that Illumina’s
  8   internal controls and forecasting processes were materially flawed. Prior to and
  9
      during the third quarter of fiscal 2016, Illumina had been experiencing a material
 10
      decline in sales of its traditional “HiSeq” sequencing instrument. The decline in
 11
      sales, which Defendants would later refer to as a “trend” that had been “building”
 12
      for some time and “didn’t show up suddenly” during the third quarter, went
 13
      unnoticed during the forecasting process. The fact that Defendants failed to
 14
      account for this “trend” when providing investors with materially strong guidance
 15
      shows that Defendants deliberately disregarded the “trend” during the Class
 16
      Period and, therefore, acted with scienter.
 17
            4.     The truth emerged on October 10, 2016, when Illumina issued a press
 18
      release announcing that third quarter revenue amounted to approximately $607
 19
      million, significantly lower than Defendants’ previous forecast of $625 million to
 20
      $630 million. Moreover, Defendants’ revealed that the revenue shortfall was
 21
 22
      attributable to “a larger than anticipated year-over-year decline in high throughput

 23   sequencing instruments,” which included the HiSeq instrument.

 24         5.     Investors and analysts reacted immediately to Illumina’s revelation.

 25   The price of Illumina’s common stock declined dramatically. From a closing
 26   market price of $184.85 per share on October 10, 2016, Illumina’s stock price fell
 27   to $138.99 per share on October 11, 2016, a decline of nearly 25% in the span of
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  1   just a single day. Illumina’s disclosure on October 10, 2016 resulted in a market
  2   capitalization loss of over $6.6 billion.
  3         6.     Lead Plaintiff brings this action, on behalf of itself and other
  4   similarly situated investors, to recover losses sustained in connection with
  5   Defendants’ fraud.
  6                             JURISDICTION AND VENUE
  7         7.     The claims asserted herein arise under and pursuant to §§10(b) and
  8   20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
  9
      promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
 10
            8.     This Court has jurisdiction over the subject matter of this action
 11   pursuant to 28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15
 12   U.S.C. §78aa.
 13         9.     Venue is proper in this District pursuant to §27 of the Exchange Act
 14   and 28 U.S.C. §1391(b), as Defendant Illumina is headquartered in this District
 15   and a significant portion of its business, actions, and the subsequent damages to
 16   Lead Plaintiff and the Class, took place within this District.
 17         10.    In connection with the acts, conduct and other wrongs alleged in this
 18   Complaint,    Defendants,     directly      or   indirectly,   used    the   means      and
 19
      instrumentalities of interstate commerce, including but not limited to, the United
 20
      States mail, interstate telephone communications and the facilities of the national
 21
      securities exchange,
 22
                                               PARTIES
 23
            11.    Lead Plaintiff Natissisa Enterprises Ltd. (“Natissisa”) purchased
 24
      Illumina common stock at artificially inflated prices during the Class Period and
 25
      was damaged upon the revelation of the Defendants’ fraud. Natissisa filed its
 26
      certification evidencing its transactions previously with the Court in connection
 27
 28
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  1   with its motion for appointment as lead plaintiff. Natissisa’s certification is
  2   incorporated herein by reference.
  3         12.    Illumina, Inc. is a Delaware corporation with its principal executive
  4   offices located at 5200 Illumina Way, San Diego, California 92122. During the
  5   Class Period, the Company’s common stock traded on the NASDAQ Stock
  6   Market (the “NASDAQ”) under the symbol “ILMN.”
  7         13.    Defendant Francis A. deSouza (“deSouza”) was, at all relevant times,
  8   the President and Chief Executive Officer of Illumina.
  9         14.    Defendant Marc A. Stapley (“Stapley”) was, at all relevant times, the
 10   Executive Vice President, Chief Administrative Officer and Chief Financial
 11
      Officer of Illumina.
 12
            15.    Defendants deSouza and Stapley are sometimes referred to herein as
 13
      the “Individual Defendants.” Illumina together with the Individual Defendants are
 14
      referred to herein as the “Defendants.”
 15
            16.    The Individual Defendants, because of their positions with the
 16
      Company, possessed the power and authority to control the contents of Illumina’s
 17
      reports to the SEC, press releases, and presentations to securities analysts, money
 18
      and portfolio managers, and institutional investors, i.e., the market. Each
 19
      Individual Defendant was provided with copies of the Company’s reports and
 20
      press releases alleged herein to be misleading prior to, or shortly after, their
 21
      issuance and had the ability and opportunity to prevent their issuance or cause
 22
      them to be corrected. Because of their positions and access to material non-public
 23
 24
      information available to them, each of these Individual Defendants knew that the

 25   adverse facts specified herein had not been disclosed to, and were being concealed

 26   from, the public, and that the positive representations which were being made
 27   were then materially false and/or misleading. The Individual Defendants are liable
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  1   for the false statements pleaded herein, as those statements were each “group-
  2   published” information, the result of the collective actions of the Individual
  3   Defendants.
  4          17.    Illumina is liable for the acts of the Individual Defendants, and its
  5   employees under the doctrine of respondeat superior and common law principles
  6   of agency as all the wrongful act complained of herein were carried out within the
  7   scope of their employment with authorization.
  8          18.    The scienter of the Individual Defendants, and other employees and
  9
      agents of the Company are similarly imputed to Illumina under respondeat
 10
      superior and agency principles.
 11
                              SUBSTANTIVE ALLEGATIONS
 12
      A.     Company Background
 13
             19.    Illumina provides genetic sequencing products to customers in the
 14
      medical, academic, and pharmaceutical industries. The company’s products aid
 15
      researchers in conducting DNA sequencing and analyzing genetic variations,
 16
      among other things.
 17
             20.    Illumina’s principal products during the Class Period consisted of the
 18
      HiSeq X, HiSeq, NextSeq, and MiSeq. These products all perform “sequencing”
 19
      functions, which Illumina describes as the process of determining the order of
 20
      nucleotide basis in a DNA sample. For the fiscal years ended January 3, 2016,
 21
      December 28, 2014, and December 29, 2013, sequencing revenue comprised 86%,
 22
      81%, and 73%, respectively, of Illumina’s total revenues.
 23
             21.    Illumina’s products also included devices known as arrays. Arrays
 24
      also provide DNA analysis functions, but on a smaller scale than Illumina’s
 25
      “sequencing” devices. For the fiscal years ended January 3, 2016, December 28,
 26
      2014, and December 29, 2013, array revenue comprised 14%, 19%, and 27%,
 27
      respectively, of Illumina’s total revenues.
 28
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  1         22.   Illumina introduced the HiSeq X and NextSeq systems in January
  2   2014. The HiSeq X and NextSeq systems offered customers lower costs and more
  3   flexibility in terms of workflow, i.e., customers were able to perform sequencing
  4   analyses without having to batch as many samples as they would have if they were
  5   using a traditional HiSeq device. According to Illumina, these devices offered
  6   “dramatic technology advances.”
  7         23.   Customers began favoring the HiSeq X and NextSeq devices almost
  8   immediately. In 2014, Illumina’s instrument revenue increased by $190.7 million,
  9   or 51%, to $562.2 million in 2014 compared to $371.5 million in the prior year,
 10   driven primarily by shipments of sequencing instruments, in particular the HiSeq
 11   X and NextSeq systems introduced in January 2014. Illumina’s consumables
 12   revenue     also   increased by     $160.7     million,    or 18%,       to $1,041.0
 13   million in 2014 compared to $880.3 million in the prior year, again largely due to
 14   growth stemming from the HiSeq X and NextSeq systems.
 15         24.   In 2015, Illumina’s revenue continued to grow in large part because
 16   of customers’ preferences for the HiSeq X and NextSeq systems. Instrument
 17   revenue increased $32.5 million, or 6%, to $594.7 million in 2015 compared
 18   to $562.2 million in 2014, driven by shipments of HiSeq X and NextSeq systems.
 19         25.   Illumina’s customers continued to favor the HiSeq X and NextSeq
 20   systems into 2016. In 2016, instrument revenue increased $32.5 million, or 6%,
 21   to $594.7 million in 2015 compared to $562.2 million in the prior year, driven
 22   once again by shipments of HiSeq X and NextSeq systems.
 23         26.   Defendants remained aware of the shift in consumer preference for
 24   the HiSeq X and NextSeq through fiscal 2016 and, in particular, the third quarter
 25   of fiscal 2016 (ended October 2, 2016). On May 3, 2016, several weeks prior to
 26   the start of the third quarter, during an investor conference call discussing
 27   Illumina’s earnings for the first quarter of fiscal 2016, Jay Flatley, Illumina’s
 28
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  1   former Chief Executive Officer and current Executive Chairman, explained to
  2   investors that Illumina had missed its revenue guidance for the first quarter in part
  3   because of customers opting to purchase NextSeq systems instead of the
  4   company’s traditional HiSeq devices. Flatley stated, in pertinent part, that:
  5
            The second factor was HiSeq orders that were forecasted but were not
  6         received, accounting for $9 million of the shortfall. As a consequence,
  7         we shipped 19 fewer HiSeq 2500, 3000, and 4000 instruments than
            anticipated, valued at $14 million, which was partially offset by
  8         strength in other portions of the portfolio. We had anticipated
  9         sequential growth of 11 units, rather than a decline of 8 units, which
            led to flat placements year-over-year. Over the last several weeks,
 10         we've gone through a detailed analysis of the underlying drivers deal
 11         by deal.
 12         There were no dominant themes, but we do see a collection of factors
 13         including delays in funding release, customers opting to purchase
            NextSeqs, and one-off situations such as pending lab moves,
 14         financing deliberations, contract reviews, or an upcoming regulatory
 15         audit. While outsourcing to service providers was also cited by a few
            customers, this is not a significant driver of our forward projections.
 16
 17   (emphasis added)
 18         27.    Following the close of the third quarter, on November 1, 2016,
 19   Defendants confirmed that the “trend” had in fact continued through the third
 20   quarter. According to Defendants, the growing preference for the HiSeq X and
 21   NextSeq over the traditional HiSeq instrument was a growing “trend,” one that
 22   had been “building” for some time and “didn’t show up suddenly” during the third
 23   quarter.
 24         28.    Notwithstanding Defendants’ knowledge of this “trend,” Defendants
 25   provided investors with revenue estimates that did not account for the material
 26   negative impact that it was already having on the company’s sales. Prior to the
 27   start of the Class Period, on May 3, 2016, Defendant Stapley told investors that
 28
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  1   Illumina was anticipating a “meaningful back-half acceleration” for fiscal 2016
  2   with an “uptick in other HiSeq instrument shipments” in the second half of the
  3   year. Defendants affirmed these statements throughout the third quarter, even
  4   though they knew that HiSeq sales were declining.
  5          29.   For example, during a presentation at the Morgan Stanley Global
  6   Healthcare Conference on September 13, 2016, Defendant Stapley reiterated
  7   projections provided earlier in the quarter that forecasted a sequential increase in
  8   sequencing instrument sales. Stapley made these statements with less than three
  9
      weeks remaining in the third quarter of fiscal 2016. Consequently, Stapley (as
 10
      well as deSouza and Illumina) was already aware that HiSeq sales had declined.
 11
             30.   Defendants provided the public with forecasts that were materially
 12
      flawed and inaccurate. The forecasts failed to account for a trend that had already
 13
      negatively impacted sales, and would continue to do so for the foreseeable future.
 14
      Defendants, therefore, either failed to maintain adequate internal controls and
 15
      forecasting processes that would account for the declining HiSeq sales or,
 16
      alternatively, deliberately disregarded the fact that HiSeq sales were in the midst
 17
      of a material decline.
 18
 19   B.     Defendants Materially Misled Investors Concerning Illumina’s Sales
             and Internal Controls.
 20
                                          July 26, 2016
 21
             31.   On July 26, 2016, before the market opened, Illumina issued a press
 22
      release announcing its preliminary earnings results for the second quarter of fiscal
 23
      2016 (ended July 3, 2016). The press release stated, in pertinent part, that:
 24
 25          “We delivered solid second quarter financial results with notable
             strength across our sequencing consumable and array portfolios,”
 26
             stated Francis deSouza, President and CEO. “We will continue to
 27          focus on our execution to deliver the sequential growth we are
 28
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  1
            forecasting in the second half of the year. I would like to thank Jay
            Flatley for his leadership and strategic vision as CEO for the past 17
  2         years and I look forward to his continued contribution in his new role
  3         as Executive Chairman of the Board of Directors.”

  4         Updates since our last earnings release:
  5
                  • Received orders for more than 3 million samples of the new
  6                 Infinium® Global Screening Array, a highly economical tool
                    for genetic risk screening of large global populations
  7
  8               • Received a product approval certificate for the MiSeqDx®
                    Instrument and the MiSeqDx Universal Kit with the Ministry of
  9
                    Food and Drug Safety (MFDS) in South Korea
 10
                  • Appointed Jay Flatley Executive Chairman of the Board of
 11                 Directors of Illumina and Francis deSouza President and CEO
 12
                  • Appointed Paula Dowdy Senior Vice President and General
 13                 Manager of commercial operations for Europe, the Middle East
 14                 and Africa
 15         Financial outlook and guidance
 16
            The non-GAAP financial guidance discussed below reflects certain
 17         pro forma adjustments to assist in analyzing and assessing our core
 18
            operational performance. Please see our Reconciliation of Non-GAAP
            Financial Guidance included in this release for a reconciliation of the
 19         GAAP and non-GAAP financial measures.
 20
            For fiscal 2016, the company continues to project approximately
 21         12% revenue growth and non-GAAP earnings per diluted share
 22
            attributable to Illumina stockholders of $3.48 to $3.58. For the third
            quarter 2016, the company is projecting revenue of $625 million to
 23         $630 million.
 24
      (emphasis added)
 25
            32.     Illumina, also on July 26, 2016, hosted an investor conference call on
 26
      July 26, 2016. Defendants deSouza and Stapley participated in the call on behalf
 27
      of Illumina. During the call, deSouza and Stapley provided investors with detailed
 28
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  1   information concerning the company’s new product orders and insight into the
  2   company’s projection and forecasting process. These statements misled investors
  3   by failing to disclose material information concerning Defendants’ inability to
  4   accurately project sales and revenue and, in particular with respect to the third
  5   quarter, how shifting customer preferences was negatively impacting the
  6   company’s HiSeq sales and revenue guidance.
  7         33.   During deSouza’s opening remarks, he stated as follows:
  8
            Focusing now on new products, orders placed across our high
  9         throughput instrument portfolio increased sequentially, and shipments
 10         were roughly flat. HiSeq X orders exceeded our guidance range, and
            we added three new customers, bringing the total to 34. Again this
 11
            quarter, demand came from new customers preparing to take part in
 12         the China PMI program, which has now allocated funding to more
            than 60 projects over the next three to five years.
 13
 14         In fact, Chinese customers drove the majority of our HiSeq X
            shipments in the quarter. Going forward, our HiSeq X outlook
 15
            remains robust at 20 or 30 instrument orders per quarter, and we
 16         expect to see an increase in HiSeq placements in the Americas
            during the latter part of this year, which is supported by a solid
 17
            pipeline. Our benchtop instrument portfolio performed well in the
 18         quarter, driven by ramping interest in MiniSeq, NextSeq adoption for
 19         NIPT in the US and China, and lower than expected cannibalization of
            MiSeq.
 20
            Additionally, during the quarter, we received two regulatory approvals
 21
            for our MiSeqDx instrument from the Ministry of Food and Drug
 22         Safety in South Korea, and from the Australian Therapeutic Goods
 23         Administration. These regulatory milestones will enable our
            customers to use our NGS technology in a clinical setting, and are
 24         examples of how our regulatory strategy is enabling markets globally.
 25
      (emphasis added)
 26
            34.   Stapley, in the course of his opening remarks, stated as follows:
 27
 28
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  1
           Thanks, Francis. As Francis mentioned, total revenue grew 11% year
           over-year to $600 million, slightly exceeding our quarterly guidance.
  2        This result was driven by growth in sequencing consumables, and
  3        strong demand from microarrays. Instrument revenue declined 19%
           year-over-year to $126 million, primarily due to a challenging HiSeq
  4        comparison, given the 3000 and 4000 launch in the prior year.
  5
           Sequentially, instruments grew 7%, primarily driven by our benchtop
  6        portfolio. As predicted, HiSeq instruments were roughly flat
  7        sequentially, and we continue to expect to see an uptick in the
           second half, primarily Q4 in the Americas, as Francis mentioned.
  8        Consumable revenue represented 63% of total revenue, to equal $379
  9        million, an increase of 25% compared to the second quarter of 2015,
           driven by strength in both the array and sequencing product lines.
 10
 11        Sequencing consumables revenue also grew 25% year-over-year to
           approximately $310 million, driven by our growing installed base of
 12        instruments, and particular strength in NextSeq consumables. Again
 13        this quarter, NextSeq utilization was above our guidance range of
           $100,000 to $125,000 per instrument annually. As a result of this
 14
           outperformance and our increasing forecasts, we are now projecting
 15        annual pull-through of $100,000 to $150,000 per NextSeq instrument.
 16        MiSeq utilization was in our projected range of $40,000 to 45,000,
 17        and HiSeq pull-through per instrument fell within the guidance range
           of $300,000 to $350,000. For modeling purposes, we removed
 18
           approximately 45 HiSeqs from our installed base in the second
 19        quarter, reflecting the units taken off-line due to adoption of newer
           machines.
 20
 21        ...
 22        Turning now to expectations for the remainder of 2016. We continue
 23        to project total Company revenue growth of approximately 12% year
           over year. Included in this projection is the expectation that EMEA
 24        will experience a slower pace of recovery, which will be offset by an
 25        improved outlook in Asia-Pacific. We are forecasting Q3 revenue of
           $625 million to $630 million, and are anticipating higher year-over-
 26        year growth in Q4 than in Q3. We have increased our non-GAAP
 27
 28
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  1
            EPS guidance to $3.48 to $3.58, up from $3.35 to $3.45, given our
            outperformance in Q2.
  2
      (emphasis added)
  3
            35.     The statements identified above in emphasis were false and/or
  4
      materially misleading. Defendants provided investors with the impression that
  5
      they possessed the capability to accurately forecast sales and revenue. This was
  6
      not true. By the time of the above-statements, only two months within the third
  7
  8   quarter remained, i.e., the third quarter was well underway. Customer preferences

  9   for newer HiSeq models had already begun to negatively impact the company’s

 10   sales and revenue. As admitted by Defendants on November 1, 2016, the shift in
 11   preferences among Illumina’s customers was a “trend” that had been “building”
 12   for some time, and “didn’t show up suddenly this quarter [the third quarter].”
 13   Defendants’ internal controls and forecasting processes either failed to account for
 14   the trend or, alternatively, Defendants deliberately ignored it. Notwithstanding,
 15   Defendants provided the public with their forecasts which portrayed Illumina’s
 16   operations in a materially false manner.
 17         36.     During the question-and-answer segment of the call, Defendants
 18   deSouza and Stapley perpetuated the false impression they gave to investors
 19   during their opening remarks. For example, even when asked directly by an
 20   analyst, deSouza failed to disclose the company’s declining HiSeq sales due to
 21   shifting customer preferences, and how those shifting customer preferences were
 22   materially undermining Defendants’ projections. deSouza stated, in pertinent part,
 23
      as follows:
 24
            <Q: Doug Schenkel – Cowen and Company – Analyst> Okay. Thank
 25
            you, and good afternoon. Sequencing instruments were up against of
 26         the most difficult comparison of the year, so a pretty material decline
            in instrument revenue. I believe it was expected in most models. For
 27
            example we were expecting a 19% decline year-over-year.
 28
                                     13
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  1
           That being said, based on the emails I'm getting from investors, it
           does seem like that 21% year-over-year decline in sequencing
  2        instrument revenue is jumping out at folks. I believe you indicated
  3        that bench tops were better than expected, HiSeq 2500 and 4000s
           were about flat sequentially, and that you exceeded the guidance
  4        range for HiSeq X orders in the quarter. It would be helpful if you
  5        could just provide any additional color on how sequencing instrument
           revenue performance was, relative to Q1, how it came in relative to
  6
           your internal expectations, and maybe discuss any dynamics such as
  7        book-to-bill that will help us assess demand momentum heading into
           the second half?
  8
  9        <A: Francis deSouza> Sure, Doug. Overall, we are where we
           expected to be generally. With the instruments, we knew this was
 10
           going to be a tough compare, and if you look at breakdowns with
 11        our instrument line for the HiSeqs, for example, we saw stabilization
           in the HiSeq instrument shipments in the second quarter. Orders
 12
           were higher sequentially, and shipments were roughly flat compared
 13        to the first quarter. This was in line with what we outlined in the Q1
 14        earnings call.

 15        And then if you go to the X line, we continue to be happy with the
           strength of the X orders, which are as we expected it to be, and as we
 16
           look at the pipeline going forward, we expect that to continue. If we
 17        look at the back half of the year, we expect to see further strength,
 18        especially in the HiSeq line, as we get towards the end of the year,
           and primarily coming out of the US.
 19
           We have a good line of sight into our pipeline for the HiSeq
 20
           instrument sales towards the end of the year, driven by end of year
 21        budget flush we expect to see. In terms of book-to-bill, it was roughly
 22        consistent with where it's always been, which means that orders and
           shipments were roughly in line.
 23
      (emphasis added)
 24
           37.   The statements identified above in emphasis omitted to provide
 25
      investors with material information concerning the interplay in sales between
 26
      Illumina’s traditional HiSeq model and NextSeq and HiSeq X instruments.
 27
 28
                                     14
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  1   Moreover, deSouza’s statements failed to alert the public that Defendants’
  2   projection processes were materially flawed because they did not account for the
  3   fact that HiSeq sales were declining. To the contrary, deSouza represented that
  4   HiSeq sales were strong and supported Defendants’ decision to increase
  5   Illumina’s revenue guidance for the third quarter.
  6         38.    Similarly, Stapley likewise omitted material information concerning
  7   the trend within the company’s sequencing segment. In response to an analyst
  8   question directly addressing the issue, Stapley stated as follows:
  9
            <Q: Bill Quirk – Piper Jaffray – Analyst> Understood. And then
 10         looking at the segment results here, and specifically a comment at the
 11         end of your prepared remarks about double-digit array guidance, but
            we kept the overall revenue guidance the same. And so how should
 12
            we think about the offset here? It's obviously in sequencing.
 13
            Is it specific to Europe? A little color would be great. Thank you.
 14
 15
            <A: Marc Stapley> Yes, Bill, so, obviously we don't guide to specific
            levels generally, specific segments generally. But we feel that given
 16         the trend that we're seeing now in arrays, we would give that
 17         perspective to you, that double-digit. We've been seeing that start to
            form. We mentioned it last quarter. We said it was an emerging bright
 18         spot, but we need to see a little bit more of a trend.
 19
            With the orders that we saw last quarter and the quarter before, and
 20         the products this year, we had already been contemplating this
 21         potential array growth, we just didn't want to provide a number until
            we felt more comfortable, so it doesn't really change our guidance.
 22         And it doesn't offset necessarily on the sequencing side. Is been
 23         contemplated for --
 24         <Q: Bill Quirk – Piper Jaffray – Analyst> Got it. Okay. Appreciate
 25         the color there. Thanks, Marc.
 26   (emphasis added)

 27
 28
                                     15
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  1         39.    Stapley, even when confronted directly on the issue of a potential
  2   weakness in sequencing instrument sales (which include the HiSeq), failed to
  3   disclose the shift in consumer preferences that had already begun to impact the
  4   company’s sales in a materially negative manner. Further, while failing to disclose
  5   this information, Stapley continued to perpetuate the false impression that
  6   Illumina’s forecasting processes and insight into its sales pipeline were sufficient
  7   in terms of providing investors with accurate information.
  8         40.    In response to another analyst question on the same issue, deSouza
  9
      and Stapley stated as follows:
 10
            <Q: Bryan Brokmeier – Cantor Fitzgerald – Analyst> You said that
 11         you're expecting strong HiSeq orders in the fourth quarter, and you
 12         cited the pipeline is why you believe that you can achieve that. Where
            in the sales cycle do you see a lot of opportunities that give you the
 13
            confidence in your pipeline? In other words, have customers made the
 14         decision to purchase HiSeqs, but are waiting for funding applications
 15
            to be accepted? Or where are customers -- or are they dragging their
            feet on committing to making in order?
 16
            <A: Francis deSouza> Yes. So, a little bit of all of the above.
 17
            Typically, the people buying HiSeqs are not new to Illumina
 18         customers. Typically, we have been working with a lot of these
 19         customers already. We understand their business, and the demands
            on their business, and that's what allows us to project when we think
 20         they'll be needing instruments and work with them, on when they
 21         will need instruments.
 22         So, in some cases, it's grant applications that are in. In some cases, it's
 23
            people that are looking at their budgets for the year and using their
            end of year budgets to buy HiSeqs. In some cases, they are just
 24         ramping up their business, and that's when they'll need the new
 25         instruments. But in the majority of cases, these are customers that are
            already customers of ours, and that we have been working with for a
 26         while.
 27
 28
                                     16
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  1
            <Q: Bryan Brokmeier – Cantor Fitzgerald – Analyst> Okay. And on a
            similar topic, you've removed 270 HiSeqs from your install base over
  2         the last year and half. Do you expect the rate of instruments that are
  3         decommissioned to slow down later this year, when you're expecting
            that pick up in the HiSeq placements?
  4
  5
            <A: Marc Stapley> Actually it doesn't really matter as long as they
            are replacing those older HiSeqs with newer instruments. And so as
  6         Francis mentioned earlier, with respect to the utilization analysis we
  7         do, that we've seen an uptick in the available capacity, and so that's
            net of those reductions in older instruments. Even with that, we're
  8         seeing the capacity going up as customers buy the new higher
  9         throughput instruments. So, it's probably not fruitful to try to predict
            where that's going, to that's why it doesn't matter as long as it's
 10
            replacement. Which is generally is.
 11
      (emphasis added)
 12
            41.    deSouza’s and Stapley’s responses to the analyst question further
 13
      misled investors by creating the false impression that Defendants possessed
 14
      adequate forecasting processes as well as reliable information pertaining to the
 15
      company’s sales pipeline. This was not true. Defendants’ forecasting processes
 16
      either failed to adequately account for the declining HiSeq sales among Illumina’s
 17
      customers or, alternatively, Defendants deliberately ignored the declining sales. In
 18
      either event, Defendants misled investors by providing the public with materially
 19
 20
      flawed revenue guidance.

 21         42.    Defendants’ false and/or materially misleading statements were

 22   material. Indeed, Defendants’ statements on July 26, 2016 prompted an immediate

 23   rise in the price of Illumina’s stock. From a closing price of $150.10 per share on
 24   July 26, 2016, Illumina’s stock price climbed to $162.25 the following day on
 25   July 27, 2016 on unusually high volume. The truth about Illumina’s revenue and
 26   Defendants’ forecasting processes in particular would have altered the total mix of
 27
 28
                                     17
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  1   information available to investors. Defendants failed to disclose this information
  2   and, in so doing, allowed the statements they made to be materially misleading.
  3                                     August 2, 2016
  4         43.   On August 2, 2016, Illumina filed its quarterly report (Form 10-Q)
  5   for the second quarter (ended July 3, 2016) with the SEC. Defendant Stapley
  6   signed the quarterly report on behalf of the company.
  7         44.   The quarterly report represented to investors that Illumina maintained
  8   adequate internal controls to “ensure” that the company complied with “applicable
  9
      laws” and “established financial policies.” In pertinent part, the quarterly report
 10
      stated:
 11
            We design our internal controls to provide reasonable assurance that
 12
            (1) our transactions are properly authorized; (2) our assets are
 13         safeguarded against unauthorized or improper use; and (3) our
            transactions are properly recorded and reported in conformity with
 14
            U.S. generally accepted accounting principles. We also maintain
 15         internal controls and procedures to ensure that we comply with
 16         applicable laws and our established financial policies.

 17         Based on management’s evaluation (under the supervision and with
            the participation of our chief executive officer (CEO) and chief
 18
            financial officer (CFO)), as of the end of the period covered by this
 19         report, our CEO and CFO concluded that our disclosure controls and
 20         procedures (as defined in Rules 13a-15(e) and 15d-15(e) under the
            Securities Exchange Act of 1934, as amended (the “Exchange Act”)),
 21         are effective to provide reasonable assurance that information required
 22         to be disclosed by us in reports that we file or submit under the
            Exchange Act is recorded, processed, summarized, and reported
 23         within the time periods specified in SEC rules and forms, and is
 24         accumulated and communicated to management, including our
            principal executive officer and principal financial officer, as
 25
            appropriate, to allow timely decisions regarding required disclosure.
 26
      (emphasis added)
 27
 28
                                     18
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  1         45.    Defendants deSouza and Stapley also executed certifications pursuant
  2   to the Sarbanes-Oxley Act of 2002 in connection with the quarterly report. Each
  3   certification represented to investors that the quarterly report was accurate in all
  4   material respects. Specifically, deSouza and Stapley certified that:
  5
            1      I have reviewed this Quarterly Report on Form 10-Q of
  6                Illumina, Inc.;
  7
            2      Based on my knowledge, this report does not contain any
  8                untrue statement of a material fact or omit to state a material
                   fact necessary to make the statements made, in light of the
  9
                   circumstances under which such statements were made, not
 10                misleading with respect to the period covered by this report;
 11
            3      Based on my knowledge, the financial statements, and other
 12                financial information included in this report, fairly present in all
                   material respects the financial condition, results of operations
 13
                   and cash flows of the registrant as of, and for, the periods
 14                presented in this report;
 15
            4      The registrant’s other certifying officer and I are responsible for
 16                establishing and maintaining disclosure controls and procedures
                   (as defined in Exchange Act Rules 13a-15(e) and 15d-15(e))
 17
                   and internal control over financial reporting (as defined in
 18                Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant
 19                and have:

 20                a)    designed such disclosure controls and procedures, or
                         caused such disclosure controls and procedures to be
 21
                         designed under our supervision, to ensure that material
 22                      information relating to the registrant, including its
 23                      consolidated subsidiaries, is made known to us by others
                         within those entities, particularly during the period in
 24                      which this report is being prepared;
 25
                   b)    designed such internal control over financial reporting,
 26                      or caused such internal control over financial reporting
 27                      to be designed under our supervision, to provide
                         reasonable assurance regarding the reliability of
 28
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  1
                        financial reporting and the preparation of financial
                        statements for external purposes in accordance with
  2                     generally accepted accounting principles;
  3
                  c)    evaluated the effectiveness of the registrant’s disclosure
  4                     controls and procedures and presented in this report our
  5
                        conclusions about the effectiveness of the disclosure
                        controls and procedures, as of the end of the period
  6                     covered by this report based on such evaluation; and
  7
                  d)    disclosed in this report any change in the registrant’s
  8                     internal control over financial reporting that occurred
  9
                        during the registrant’s most recent fiscal quarter (the
                        registrant’s fourth fiscal quarter in the case of an annual
 10                     report) that has materially affected, or is reasonably
 11                     likely to materially affect, the registrant’s internal control
                        over financial reporting; and
 12
 13
            5     The registrant’s other certifying officer and I have disclosed,
                  based on our most recent evaluation of internal control over
 14               financial reporting, to the registrant’s auditors and the audit
 15               committee of the registrant’s board of directors (or persons
                  performing the equivalent functions):
 16
 17
                  a)    all significant deficiencies and material weaknesses in
                        the design or operation of internal control over
 18                     financial reporting which are reasonably likely to
 19                     adversely affect the registrant’s ability to record,
                        process, summarize and report financial information;
 20                     and
 21
                  b)    any fraud, whether or not material, that involves
 22                     management or other employees who have a significant
 23                     role in the registrant’s internal control over financial
                        reporting.
 24
            46.   The statements identified above in emphasis were materially
 25
      misleading. Absent from the quarterly report and the accompanying certifications
 26
      was any mention of the fact that Defendants’ processes relating to forecasting
 27
 28
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  1   sales and/or revenue were materially flawed. As explained previously, Defendants
  2   had provided projections to the public notwithstanding the fact that the projections
  3   were inaccurate—either because Defendants’ forecasting processes failed to
  4   account for declining HiSeq sales or because Defendants deliberately ignored the
  5   declining HiSeq sales.
  6         47.    The truth concerning Defendants’ forecasting processes, and the
  7   forecasts themselves, was material to investors. One of the objectives of the
  8   Sarbanes-Oxley Act of 2002 was to give investors assurance over transparency
  9
      and accurate reporting. The certifications signed by deSouza and Stapley provided
 10
      investors with a “personal stamp” of approval with regard to the company’s
 11
      disclosures, including Defendants’ statements concerning future revenue and
 12
      sales. Investors relied on these certifications as proof that Illumina’s quarterly
 13
      report and other public disclosures were accurate in all material respects. The truth
 14
      about deSouza’s and Stapley’s certifications was material, as it would have altered
 15
      the total mix of information available to the public.
 16
                                      September 13, 2016
 17
            48.    Illumina presented at the Morgan Stanley Global Healthcare
 18
      Conference on September 13, 2016. Defendant Stapley participated in the
 19
      conference on behalf of the company.
 20
            49.    During the presentation, Stapley reaffirmed Illumina’s previously
 21
 22
      stated projections for the third quarter of fiscal 2016. In pertinent part, Stapley

 23   stated:

 24         As we think forward into the second half here we've provided
 25         guidance on the second quarter earnings call that implied a
            sequential growth in Q3 and a sequential growth from that point
 26         into Q4 and part of that is driven by the backlog of HiSeq X's that
 27         we have now booked into our order system at this point in time;
            some of which is driven by strength in China and we [cited] 30
 28
                                     21
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  1
            systems per quarter in Q3 and Q4 of HiSeq X; that's individual units
            of X.
  2
            In addition the fourth quarter growth we believe is driven by
  3
            potentially upside in North America on the HiSeq and Europe on
  4         sequencing reagents driven by some element of year-end spending.
  5   (emphasis added)
  6         50.    Stapley’s statements during the presentation, identified above in
  7   emphasis, materially misled investors. Similar to Stapely’s comments during the
  8
      July 26, 2016 conference call, Stapely again created the false impression that
  9
      Illumina possessed the internal controls and insight into the company’s sales
 10
      pipeline to accurately project revenue. This was not true. To the contrary,
 11
      Defendants’ forecasting processes failed to account for weakening HiSeq sales in
 12
      the third quarter, which by the time of the Morgan Stanley Global Healthcare
 13
      Conference was within three weeks of ending. Significantly, as Defendants would
 14
      later admit, the weakening HiSeq sales was attributable to a shift in consumer
 15
      preferences that had been “building over time” and “didn’t show up suddenly this
 16
      quarter [the third quarter].”
 17
            51.    The truth about Illumina’s forecasting processes and, in particular,
 18
      the forecasts themselves was material to investors. Revenue is one of the most
 19
      important metrics relied upon by investors when evaluating a company. Had
 20
 21
      investors known that Illumina’s projections were inaccurate and that Defendants

 22   were incapable of developing accurate projections, investors would have taken

 23   different actions with regard their positions in Illumina stock. The truth about

 24   Illumina’s projections and forecasting capabilities would have altered the total
 25   mix of information concerning Illumina stock available to investors.
 26
 27
 28
                                     22
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  1
      C.     Illumina Reveals that Third Quarter Earnings Will Fall Significantly
             Below Previous Estimates and that Defendants Do Not Possess the
  2          Controls Necessary to Provide Accurate Guidance.
  3                                      October 10, 2016
  4          52.   On October 10, 2016, after the market closed, Illumina issued a press
  5   release announcing its preliminary earnings results for the third quarter of fiscal
  6   2016 (ended October 2, 2016). The press release stated, in pertinent part, that:
  7
             SAN DIEGO--(BUSINESS WIRE)--Oct. 10, 2016-- Illumina, Inc.
  8          (NASDAQ: ILMN) today announced estimated third quarter revenue
  9          of approximately $607 million, a 10% increase compared to $550
             million in the third quarter of 2015. This unaudited estimate, based on
 10          management's preliminary financial analysis, is lower than the third
 11          quarter revenue guidance of $625 million to $630 million.
 12          The shortfall in quarterly revenue was driven by a larger than
 13          anticipated year-over-year decline in high throughput sequencing
             instruments. As a result, the company expects fourth quarter revenue
 14          will be flat to slightly up sequentially.
 15   (emphasis added)
 16          53.   Illumina hosted an investor conference call later the same day.
 17
      Defendant deSouza participated in the call on behalf of Illumina. During the call,
 18
      deSouza told investors that the shortfall in revenue was due to a “miss” in “high
 19
      throughput instrument sales.” deSouza also told investors that Illumina was
 20
      anticipating “flat to slightly up” revenue for the following quarter. In pertinent
 21
      part, deSouza stated as follows:
 22
 23
             Thanks, Rebecca, and good afternoon, everyone. We are clearly
             disappointed by the preliminary revenue result of approximately $607
 24          million, an increase of 10% over the prior year period, and lower than
 25          our guidance of $625 million to $630 million. The primary driver of
             this miss was high throughput instrument sales, compared to our
 26          expectations. HiSeq 2500 and 4000 orders in the Americas were
 27          lower than expected, and we closed one less HiSeQ X system deal
 28
                                        23
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  1
            than anticipated, resulting in a shipment figure of 26 X units during
            the quarter. As a result, total sequencing instrument revenue
  2         declined 26% year over year, a larger decrease than that anticipated
  3         at the beginning of Q3. Sequencing consumables were generally
            consistent with our expectations.
  4
  5
            ...

  6         Our current expectation is that Q4 revenue will be flat to slightly up
            sequentially. We are no longer counting on the uptick on high
  7
            throughput sequencing instruments that we were previously
  8         predicting, and there are a number of large, binary deals that may
  9
            or may not close in the quarter. We plan to provide further details
            and insights as to the underlying dynamics for Q3 and Q4 on our
 10         earnings call.
 11
      (emphasis added)
 12
            54.    Investors and analysts reacted immediately to Illumina’s revelation.
 13
      The price of Illumina’s common stock declined dramatically. From a closing
 14
      market price of $184.85 per share on October 10, 2016, Illumina’s stock price fell
 15
      to $138.99 per share on October 11, 2016, a decline of nearly 25% in the span of
 16
      just a single day. Illumina’s stock price continued to fall on October 12, 2016,
 17
      declining to $136.18 per share. Trading volume for both days was unusually high,
 18
      reaching 11 million shares on October 11, 2016 and almost 3 million shares on
 19
      October 12, 2016.
 20
            55.    A number of well-known analysts who had been following Illumina
 21
      downgraded the company’s stock and/or lowered their price targets in response to
 22
      Illumina’s disclosures. For example, Barclays lowered its price target for
 23
      Illumina’s stock, noting that the miss on revenue was due to Illumina’s
 24
 25
      “weakness” in “high throughput sequencing” products. Barclays also identified

 26   Illumina’s “uncertainty” concerning revenue in the fourth quarter as a basis for

 27   lowering its price target.

 28
                                     24
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  1         56.    Cowen and Company likewise lowered its price target for Illumina
  2   stock in response to the company’s revelation. In its report, titled 3rd Miss In 5
  3   Quarters Is Arguably Most Surprising & Problematic; PT To $160, Cowen and
  4   Company wrote that “this [revenue miss] could be a new low given reset [sic]
  5   guidance and an 8K in July that seemingly de-risked non-heroic Q3 expectations.”
  6         57.    Wells Fargo also lowered its price target for Illumina stock. In its
  7   report, Wells Fargo focused on the fact that Illumina’s disclosure was the “the
  8   third time in five quarters that [Illumina] has negatively pre-announced.” The
  9
      report also highlighted the fact that, “[e]ven more frustrating, however, is that the
 10
      narrative [has been] different every quarter.” In pertinent part, the Wells Fargo
 11
      report stated that:
 12          In 3Q15, [Illumina] pre-announced negatively on weak desktop
 13          sequencing sales and weakness in Europe/APAC, offset by strength in
             the Americas and strong HiSeq sales. In 4Q15, [Illumina] positively
 14          pre-announced, citing strong desktop sequencing sales but
 15          simultaneously announcing the materially dilutive GRAIL initiative.
             In 1Q16, [Illumina] negatively pre-announced again, citing weaker
 16
             standard HiSeq instrument sales and weakness in Europe. 2Q16 was a
 17          strong quarter due to arrays, strength in desktop, strength in China,
             and seemingly good visibility on HiSeq sales in H2. Now in Q3, the
 18
             narrative shifts again, with the expected strength in HiSeq not
 19          materializing and now the Americas being the geographic problem
 20          area.

 21         58.    The fact that these analysts, and others, discussed Illumina’s revenue

 22   shortfall and missed projection shows that the investing public placed great weight

 23   upon Illumina’s prior revenue and sales estimates. The frequent, in-depth
 24   discussion of Illumina’s guidance confirms that Defendants’ statements during the
 25   Class Period were material.
 26
 27
 28
                                     25
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  1                                    November 1, 2016
  2         59.    Illumina hosted an investor conference call on November 1, 2016.
  3   Defendants deSouza and Stapley participated in the call on behalf of Illumina.
  4   During the call, deSouza and Stapley identified several causes for the revenue
  5   shortfall announced initially on October 10, 2016. In pertinent part, deSouza
  6   stated as follows:
  7
            . . . . The other factor that contributed to the second-half shortfall
  8         was lower than anticipated HiSeq 2500 and 4000 orders, which we
  9         believe was driven by legacy HiSeq customers favoring the HiSeq X
            and NextSeq platforms.
 10
 11         The introduction of HiSeq X in January 2014 enabled whole genome
            sequencing to be performed much more economically, and as a result,
 12         samples have shifted to whole genome sequencing at the expense of
 13         other applications. Whole genome sequencing on HiSeq X now
            represents approximately 15% of all high throughput runs compared
 14         to 2% just two years ago.
 15
            Additionally, the release of NextSeq's v2 reagents in 2015 brought the
 16         quality on par with HiSeq. As a result, some high throughput
 17         customers have been adopting NextSeq, given its flexible work flow,
            which enables batching fewer samples and attractive operating costs.
 18         As a result, we will not see the second half uptick in high
 19         throughput instrument place placements we had previously
            expected.
 20
 21         To better identify trends like this earlier, we have initiated a global
            forecast improvement project, which I have asked Marc to lead, that
 22         will enhance both our visibility and forecast accuracy. Over time we
 23         are relatively indifferent to these shifts, as in both of these cases, the
            lower operating costs of HiSeq X and NextSeq enables our
 24
            customers to sequence more samples. However, the timing of the
 25         elasticity taking effect, or the customer completing their transition
 26
            varies across customers, and can create a temporary dip in
            spending.
 27
 28
                                     26
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  1
      (emphasis added)
            60.   Later in the call, during the question and answer segment, analysts
  2
  3
      asked Defendants deSouza and Stapley for additional information concerning the

  4   revenue shortfall. Defendants stated as follows:

  5         <Q: Tycho Peterson – JP Morgan – Analyst> More color on HiSeq
  6         consumable miss. You ruled out a number of things. There's certainly
            some lingering questions as to whether this is a blip, or going to be
  7         more persistent.
  8
            <A: Francis deSouza> We spent, as I said in the script, a bunch of
  9         time analyzing what was a driver of this miss. One of the questions we
 10         had internally was, is there an overcapacity in the market, and we
            looked at the utilization of those instruments. One of the analyses we
 11         did was look at customers who had just HiSeqs, and the 2500s, and
 12         look at what their utilization patterns were doing, and those patterns
            continue to be stable. So, we're not seeing a change in the utilization
 13         of the HiSeqs in the market, at all. So what we are seeing is, as people
 14         are making choices around which high throughput instrument to go
            for, historically where they would have gone for a HiSeq, we're
 15
            seeing some customers now go to an X for their whole genome work,
 16         and in some cases to a NextSeq.
 17         ...
 18
            <Q: Amanda Murphy – William Blair & Company – Analyst> Just
 19         had a couple questions here, on some commentary you've made. First
 20         on the NextSeq, you mentioned that there's work flow benefits to that
            platform. Could you just give us a little more detail around what types
 21         of applications you're seeing shifting to the NextSeq? Is this
 22         something that's been going on for some period of time, and is there
            anything that you can leverage from that platform into other
 23
            platforms, to drive increased performance?
 24
            <A: Francis deSouza> Yes. So one application that is starting to --
 25         we're getting a lot of traction on NextSeq on, is NIPT. We see a lot of
 26         our customers that are running LVTs move to the NextSeq. What
            they like is the flexible work flows. They like the fact they don't have
 27
            to batch as many samples as they would have to, with the HiSeq.
 28
                                     27
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  1
           And that's a phenomenon that's been building. And so it's been --
           it's didn't show up suddenly this quarter. It's been building over
  2        time.
  3
           I think it was important, the v2 chemistry was an important step for us
  4        with the NextSeq, where there was an initial period, where people
  5
           were looking to see the quality of the runs on NextSeq compared to
           the other instruments, the four channel instruments. With the v2,
  6        customers started to get comfortable that we had achieved parity in
  7        the quality of the output that they could get, and they started trialing
           those instruments and validating them. And so this was a trend that's
  8        been building.
  9
           ...
 10
           <Q: Bill Quirk – Piper Jaffray & Co. – Analyst> Two quick
 11
           interrelated questions. First, Marc, would you be so kind to elaborate
 12        on the new forecasting project, and I'm thinking maybe you could give
 13
           us an example of a process that will be changed as a result of this?
           And then again somewhat related, just help us think a little bit about --
 14        what would potentially stopped additional customers from
 15        transitioning to other platforms and obviously disrupting your
           consumables flow, like we saw in this quarter? Thanks.
 16
 17
           <A: Marc Stapley> I would say on the forecasting project, I think of it
           in terms of both our visibility and predictability of the pipeline. So
 18        there are a number of different things that we can do, including
 19        connecting the market insights that we have, as well as improving the
           market insights that we have, and connecting those to the forecasted
 20        pipeline. And driving more discipline around our CRM database,
 21        around our pipeline definitions and so on.
 22        It's much broader than just forecasting, which is why I said this could
 23        continue into next year. It's between the sales process and the
           forecasting process, itself. We might need to make changes in both
 24        areas.
 25
           I think we do it really well in certain spots, in a number of regions.
 26        And as we've always said, we felt like Americas had a very
 27        disciplined process. But I think we don't do it as consistently globally
           as we probably -- as I know we can.
 28
                                     28
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  1
             So driving global consistency and the way that we do it, the items we
             look at, the dashboards we use, even the taxonomy. What do you
  2          mean by defining opportunity versus upside, and those kinds of
  3          things. Like I say, in some places, we do that really well but I'd like to
             drive more global consistency around that.
  4
  5
             And then your second question on transitions, I think generally, it's
             okay for us, if our customers are transitioning to other products and
  6          platforms. There's normally good reason for that, and we still believe
  7          in elasticity, and over time, that revenue comes back. The fact that it
             causes a dip, as those customers transition, I think is part, goes with
  8          the territory.
  9
             And so key there, again, back to the forecast process, is our ability to
 10          predict that, versus being surprised by that. But the actual dynamic
 11          itself, I don't think is one we need to worry about, as long as our
             customers don't take multiple years to transition, which would be
 12          more damaging to their business than it is to ours.
 13
      (emphasis added)
 14
             61.   Defendants’ statements show that the revenue shortfall in the third
 15
      quarter of fiscal 2016 was due, in large part, to a trend in which customers had
 16
      been transitioning away from Illumina’s traditional HiSeq model to NextSeq and
 17
      HiSeq X instruments. As Defendants stated, Illumina’s customers preferred the
 18
      lower operating costs and more flexible workflows associated with the NextSeq
 19
      and HiSeq X instruments. Defendants admitted, during the November 1, 2016
 20
      conference call, that this transition was a “trend” that had been “building” for
 21
      some time. As deSouza stated, the transition was a “phenomenon that’s been
 22
      building” and “didn’t show up suddenly this quarter.” “It’s been building over
 23
      time,” deSouza told investors.
 24
 25
      D.     Defendants Acted with Scienter

 26          62.   The materially false and misleading misrepresentations and
 27   omissions alleged herein were made by Defendants with scienter. Defendants
 28
                                        29
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  1   provided the public with revenue and sales forecasts while knowing that
  2   Illumina’s forecasting processes were materially flawed. In so doing, Defendants
  3   acted with deliberate recklessness as to the risk of misleading investors.
  4            Defendants Routinely Provided the Public with Flawed Guidance
  5         63.    Illumina has a demonstrated history of providing flawed guidance to
  6   investors and analysts. The guidance provided for the third quarter of fiscal 2016
  7
      marked the third time in the company’s most recent five quarters that guidance
  8
      was materially inaccurate.
  9
            64.    In an analyst report, Wells Fargo chronicled Illumina’s flawed
 10
      forecasting processes as follows:
 11
            In 3Q15, [Illumina] pre-announced negatively on weak desktop
 12
            sequencing sales and weakness in Europe/APAC, offset by strength in
 13         the Americas and strong HiSeq sales. In 4Q15, [Illumina] positively
            pre-announced, citing strong desktop sequencing sales but
 14
            simultaneously announcing the materially dilutive GRAIL initiative.
 15         In 1Q16, [Illumina] negatively pre-announced again, citing weaker
 16         standard HiSeq instrument sales and weakness in Europe. 2Q16 was a
            strong quarter due to arrays, strength in desktop, strength in China,
 17         and seemingly good visibility on HiSeq sales in H2. Now in Q3, the
 18         narrative shifts again, with the expected strength in HiSeq not
            materializing and now the Americas being the geographic problem
 19         area.
 20
            65.    Illumina has demonstrated an inability to properly forecast revenue
 21
      and/or sales. Regardless of the particular reason behind the company’s failures,
 22
      the fact remains that Illumina did not have the internal controls in place to
 23
      properly forecast revenue and/or sales.
 24
            66.    Defendants deSouza and Stapley were aware of Illumina’s past
 25
      inability to issue accurate guidance, as each defendant has been employed with
 26
      Illumina since at least 2013. deSouza joined Illumina as its President in 2013 and
 27
 28
                                     30
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  1   Stapley has served as Illumina’s Executive Vice President, Chief Administration
  2   Officer and Chief Financial Officer since 2015. Given each defendant’s senior
  3   positions within the company, they were directly involved with, responsible for,
  4   and aware of Illumina’s history of inaccurate guidance. deSouza’s and Stapley’s
  5   knowledge in this regard is imputed to Illumina.
  6         67.    Defendants’ scienter in the matter at hand is evident from the fact
  7
      that they provided investors with guidance for the third quarter of 2016 while
  8
      knowing that the guidance was the product of flawed internal controls that had
  9
      previously provided inaccurate guidance on numerous occasions.
 10
                  Defendants Knew that Illumina’s HiSeq Sales Were Declining
 11
            68.    Defendants revealed at the end of the Class Period that they had been
 12
      aware of a developing trend among Illumina’s customers. This “trend,” as
 13
      described by Defendants, began almost immediately following the introduction of
 14
      the company’s HiSeq X and NextSeq systems.
 15
            69.    The HiSeq X and NextSeq systems offered customers lower costs
 16
      and more flexibility in terms of workflow, i.e., customers were able to perform
 17
      sequencing analyses without having to batch as many samples as they would have
 18
      if they were using a traditional HiSeq device. According to Illumina, these devices
 19
 20
      offered “dramatic technology advances.”

 21         70.    Statements made prior to and after the third quarter show that the

 22   HiSeq sales were declining during the third quarter. On May 3, 2016, several
 23   weeks prior to the start of the third quarter, during an investor conference call
 24   discussing Illumina’s earnings for the first quarter of fiscal 2016, Jay Flatley,
 25   Illumina’s former Chief Executive Officer and current Executive Chairman,
 26   explained to investors that Illumina had missed its revenue guidance for the first
 27   quarter in part because of customers opting to purchase NextSeq systems instead
 28
                                     31
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  1   of the company’s traditional HiSeq devices. Then, on November 1, 2016, several
  2   weeks after the close of the third quarter, Defendants admitted that the growing
  3   preference for the HiSeq X and NextSeq over the traditional HiSeq instrument
  4   was a growing “trend,” one that had been “building” for some time and “didn’t
  5   show up suddenly” during the third quarter. deSouza, in particular, described the
  6   shifting preference within its customer base as a “phenomenon that's been
  7
      building. And so it's been -- it's didn't show up suddenly this quarter. It's been
  8
      building over time.”
  9
            71.    Despite being aware of this “trend,” Defendants’ revenue forecasts
 10
      failed to account for it. Even as late as September 13, 2016, with less than three
 11
      weeks remaining in the third quarter, Defendant Stapley reaffirmed Illumina’s
 12
      revenue forecast of $625 million to $630 million and decision to increase its
 13
      earnings-per-share to $3.48 per share to $3.58 per share from $3.35 per share to
 14
      $3.45 per share.
 15
 16     Defendants Deliberately Disregarded Illumina’s Declining HiSeq Sales When
          Providing the Public with Guidance for the Third Quarter of Fiscal 2016
 17
            72.    Defendants claimed that they actively monitored Illumina’s pipeline
 18
      during the third quarter of fiscal 2016. For example, during the July 26, 2016
 19
      investor conference call, deSouza described for analysts the process by which
 20
      Illumina tracked its sales opportunities. In pertinent part, deSouza stated that:
 21
 22         And when Scott first went out there at the beginning of Q2, we asked
            him to look through the pipeline and validate the strength of that
 23         pipeline. And his response, and in his report back to us, was that the
 24         deals in the pipeline are real. Those are real opportunities for us, and
            three months in, those are real, in fact we've added to that pipeline.
 25
 26
 27
 28
                                     32
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  1           73.    Later in the call, deSouza elaborated in particular on Defendants’
  2   processes for tracking sales of the HiSeq instruments. In pertinent part, deSouza
  3   stated that:
  4
              We have a good line of sight into our pipeline for the HiSeq
  5           instrument sales towards the end of the year, driven by end of year
  6           budget flush we expect to see. In terms of book-to-bill, it was roughly
              consistent with where it's always been, which means that orders and
  7           shipments were roughly in line.
  8           74.    Again, in response to an analyst question, deSouza confirmed that
  9   Illumina actively monitored its sales pipeline. In pertinent part, deSouza stated
 10   that:
 11
              Sure. Let's talk about both. In terms of our guidance for the year, the
 12           reason we feel confident with 12%, even though I said that we're
 13           looking at the big deals in Europe and applying a probability-based
              view on them is that we are seeing slightly stronger than expected
 14           pipelines coming out of both the Americas and forecast coming out of
 15           both the Americas and Asia. We in general do apply some probability
              weighting to deals across the globe, but we have leaders that have
 16
              been in place longer in EMEA and in APAC, and so we feel like we
 17           have a much better handle on where those deals are, and what their
 18
              likelihood of closing is.

 19           We applied a little bit of a heavier weighting, probability weighting in
              Europe than we do right now in the Americas and in APAC, until we
 20
              have the team on the ground and have some track record behind us, in
 21           terms of the forecasting there. But the strength in Asia and Americas,
              they more than compensate for that, from our perspective.
 22
              75.    Defendants closely analyzed its sales opportunities throughout the
 23
 24
      third quarter. Notwithstanding, Defendants failed to account for Illumina’s

 25   declining HiSeq sales when providing investors with guidance for the third

 26   quarter. The fact that Defendants’ guidance failed to account for the HiSeq sales

 27   shows that either Illumina’s forecasting processes were materially flawed or
 28
                                      33
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  1   Defendants deliberately ignored the fact that HiSeq sales were declining. In either
  2   event, Defendants acted with scienter when making the false and/or materially
  3   misleading statements and omissions identified above.
  4                  Illumina Implemented Significant Remedial Measures
  5         76.    Following its revenue shortfall for the third quarter of fiscal 2016,
  6   Illumina implemented significant measures to remedy its deficient internal
  7   controls and forecasting processes.
  8         77.    In particular, as described by Defendants during the November 1,
  9
      2016 conference call, Defendants told investors that they would be initiating a
 10
      “global forecast improvement project” led by Defendant Stapley. deSouza stated,
 11
      in pertinent part, as follows:
 12
            To better identify trends like this earlier, we have initiated a global
 13
            forecast improvement project, which I have asked Marc [Stapley] to
 14         lead, that will enhance both our visibility and forecast accuracy. Over
 15
            time we are relatively indifferent to these shifts, as in both of these
            cases, the lower operating costs of HiSeq X and NextSeq enables our
 16         customers to sequence more samples. However, the timing of the
 17         elasticity taking effect, or the customer completing their transition
            varies across customers, and can create a temporary dip in spending.
 18
            78.    Defendants’ “global forecast improvement project” was not the first
 19
      time Illumina sought to overhaul its forecasting abilities. In particular, during an
 20
      investor conference call on May 3, 2016 following a revenue miss in the first
 21
      quarter of 2016, deSouza described Illumina’s ongoing efforts to improve the
 22
      company’s forecasting processes. In response to an analyst question, deSouza
 23
      stated the following:
 24
 25         <Q: Tycho Peterson – JPMorgan – Analyst> Thanks. Starting to hone
            in on the Europe issues, but I just would love to hear from you a little
 26
            bit more about the steps you're taking to improve your forecasting
 27         ability. Obviously, you had issues in Europe in 3Q last year as well, so
 28
                                     34
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  1
           if you could just talk a little bit about how you intend to improve
           visibility there, and really what gives you the confidence that the
  2        problem's going to be fixed by 3Q, since the back half estimates are
  3        essentially unchanged to get to the mid point of the new guidance
           range?
  4
  5
           <A: Francis deSouza> Sure, Tycho, this is Francis. There are a
           number of things we are doing. We started by moving one of our
  6        strong leaders from the US who ran the Western region, Scott
  7        Thomas, out to Europe, and he was out there at the beginning of this
           quarter, and has already started rolling out a much more disciplined
  8        sales process, and that starts all the way from capturing the
  9        opportunity, then tracking the opportunities, as well as managing our
           visibility into the opportunities that are in various stages of the
 10
           process.
 11
           He's also instituted a process that frankly we use in the US, around
 12        managing the pipeline for some of our lower-end instruments. That
 13        alone has started to give us better visibility into when deals are
           expected to close over the course of this quarter, and allowed us to
 14
           add urgency, and also manage more for a weekly close process, rather
 15        than a close process that's so heavily tailored towards the end of the
           quarter.
 16
 17        That does a few things. One, it gives us much better visibility into
           what we're working, for the course of the quarter. It helps drive
 18
           urgency into the team, and it helps make sure that we understand
 19        whether we have the pipe to get the deals we need.
 20        Additionally, Tycho, the execution challenges that we've talked about
 21        in Europe, much of that related to this deferral challenge that I talked
           about in the script where we had a surprisingly large amount of
 22        revenue that was not recognizable, and part of the discipline we need
 23        in the team is to pull in the orders to make sure that we don't have a
           lot of systems that don't get shipped in time to be recognized as
 24
           revenue, or they're small contractual issues at the end of the quarter,
 25        that wind up having a revenue recognition question, and therefore
 26        can't be counted. That's all the discipline of making sure that hose
           deals get closed earlier in the quarter, and Scott's going to make a big
 27        difference there as well, we believe.
 28
                                     35
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  1           79.   Stapley elaborated upon deSouza’s remarks, stating in pertinent part
  2   that:
  3
              I would add one point to your question about confidence in the
  4           outlook for the rest of the year. As I mentioned in the script, or
              Francis mentioned, we've got Europe in our outlook currently at the
  5
              revised number that they've committed to, and provided recently,
  6           which is a lot lower than it was previously. And so that gives us an
  7           opportunity to get these changes and improvements baked in, and start
              to get some positive impacts from them.
  8
              80.   The implementation of such a significant overhaul to the company’s
  9
      forecasting processes, in addition to the measures already implemented prior to
 10
      the third quarter, shows that the forecasting processes utilized by the company
 11
      previously were grossly inadequate. The significance of the remedial measures
 12
      implemented by Illumina further shows that the false and/or misleading revenue
 13
      estimates provided to the public by Defendants were not the result of
 14
      mismanagement, but deliberate recklessness and/or intentional fraud.
 15
 16
                           Corporate Scienter Is Imputed to Illumina

 17           81.   Illumina’s public statements about its revenue for the third quarter of
 18   fiscal 2016 were critical to the company’s reputation and overall operations.
 19   Given the dramatic allegations of falsity contained herein, a strong inference
 20   exists that Illumina’s corporate officials knew of the falsity of the statements at
 21   the time of publication and/or dissemination. Specifically, the knowledge of
 22   deSouza and Stapley (among other members of senior management) concerning
 23   Illumina’s past statements of inaccurate guidance, ongoing trend of declining
 24   HiSeq sales, and the need for a significant overhaul of Illumina’s forecasting
 25   processes is imputed to Illumina. Illumina acted with scienter under the corporate
 26   scienter doctrine.
 27
 28
                                      36
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  1   E.     Loss Causation and Economic Loss
  2          82.   During the Class Period, as detailed herein, Illumina and the
  3   Defendants made materially false and misleading statements and engaged in a
  4   scheme to deceive the market and a course of conduct that artificially inflated the
  5   price of Illumina’s common stock and operated as a fraud or deceit on Class
  6   Period purchasers of Illumina’s common stock by materially misleading the
  7   investing public. Later, when Illumina and Defendants’ prior misrepresentations
  8   and fraudulent conduct became apparent to the market, the price of Illumina’s
  9
      common stock materially declined, as the prior artificial inflation came out of the
 10
      price over time. As a result of their purchases of Illumina’s common stock during
 11
      the Class Period, Lead Plaintiff and other members of the Class suffered economic
 12
      loss, i.e., damages under federal securities laws.
 13
             83.   Illumina’s stock price fell in response to the corrective event on
 14
      October 10, 2016, as alleged supra. On October 10, 2016, Defendants disclosed
 15
      information that was directly related to their prior misrepresentations and material
 16
      omissions concerning Illumina’s forecasting processes and third quarter sales.
 17
             84.   In particular, on October 10, 2016, Illumina revealed that third
 18
      quarter revenue amounted to approximately $607 million, significantly lower than
 19
      Defendants’ previous forecast of $625 million to $630 million. Moreover,
 20
      Defendants’ revealed that the revenue shortfall was attributable to “a larger than
 21
 22
      anticipated year-over-year decline in high throughput sequencing instruments,”

 23   which included the HiSeq instrument. Further, on November 1, 2016, Defendants

 24   elaborated, explaining that the decline in high throughput sequencing instruments

 25   was due to a growing “trend” among Illumina’s customers. According to
 26   Defendants, the company’s customers had been demonstrating a growing
 27   preference for the HiSeq X and NextSeq over the traditional HiSeq instrument,
 28
                                        37
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  1   and that this preference was a growing “trend” that had been “building” for some
  2   time. These disclosures communicated to the public that Defendants did not have
  3   adequate forecasting processes and, as a result, failed to properly account for the
  4   decline in HiSeq sales. Defendants’ misrepresentations and material omissions
  5   during the Class Period concealed this information.
  6          85.   The disclosure on October 10, 2016 prompted an immediate, material
  7   decline in the price of Illumina’s stock as investors discovered the truth about
  8   Illumina’s forecasting processes. On October 10, 2016, the price of Illumina’s
  9
      common stock declined dramatically. From a closing market price of $184.85 per
 10
      share on October 10, 2016, Illumina’s stock price fell to $138.99 per share on
 11
      October 11, 2016, a decline of nearly 25% in the span of just a single day.
 12
      Illumina’s stock price continued to fall on October 12, 2016, declining to $136.18
 13
      per share. Trading volume for both days was unusually high, reaching 11 million
 14
      shares on October 11, 2016 and almost 3 million shares on October 12, 2016.
 15
      F.     Presumption of Reliance; Fraud-On-The-Market
 16
             86.   At all relevant times, the market for Illumina’s common stock was an
 17
      efficient market for the following reasons, among others:
 18
                   (a)    Illumina’s common stock met the requirements for listing and
 19
 20
             was listed and actively traded on the NASDAQ during the Class Period, a

 21          highly efficient and automated market;

 22                (b)    Illumina communicated with public investors via established
 23          market communication mechanisms, including disseminations of press
 24          releases on the national circuits of major newswire services and other wide-
 25          ranging public disclosures, such as communications with the financial press
 26          and other similar reporting services;
 27
 28
                                        38
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  1                (c)    Illumina was followed by several securities analysts employed
  2          by major brokerage firms who wrote reports that were distributed to the
  3          sales force and certain customers of their respective brokerage firms during
  4          the Class Period. Each of these reports was publicly available and entered
  5          the public marketplace; and
  6                (d)    Unexpected material news about Illumina was reflected in and
  7
             incorporated into the Company’s stock price during the Class Period.
  8
             87.   As a result of the foregoing, the market for Illumina’s common stock
  9
      promptly digested current information regarding the Company from all publicly
 10
      available sources and reflected such information in Illumina’s stock price. Under
 11
      these circumstances, all purchasers of Illumina’s common stock during the Class
 12
      Period suffered similar injury through their purchase of Illumina’s common stock
 13
      at artificially inflated prices, and a presumption of reliance applies.
 14
             88.   Alternatively, reliance need not be proven in this action because the
 15
      action involves omissions and deficient disclosures. Positive proof of reliance is
 16
      not a prerequisite to recovery pursuant to ruling of the United States Supreme
 17
      Court in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All
 18
      that is necessary is that the facts withheld be material in the sense that a
 19
 20
      reasonable investor might have considered the omitted information important in

 21   deciding whether to buy or sell the subject security.

 22
      G.     No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine

 23          89.   The statutory safe harbor provided for forward-looking statements
 24   under certain circumstances does not apply to any of the material
 25   misrepresentations and omissions alleged in this Complaint. As alleged above,
 26   Defendants’ liability stems from the fact that they provided investors with
 27   forecasts while at the same time failing to maintain adequate forecasting
 28
                                        39
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  1   processes. HiSeq sales were in the midst of a decline prior to and during the third
  2   quarter of fiscal 2016. Notwithstanding, Defendants provided the public with
  3   forecasts that failed to account for this decline and/or adequately disclose the fact
  4   that the company at the current time did not have adequate forecasting processes.
  5         90.    To the extent certain of the statements alleged to be misleading or
  6   inaccurate may be characterized as forward looking, they were not identified as
  7
      “forward-looking statements” when made and there were no meaningful
  8
      cautionary statements identifying important factors that could cause actual results
  9
      to differ materially from those in the purportedly forward-looking statements.
 10
            91.    Defendants are also liable for any false or misleading “forward-
 11
      looking statements” pleaded because, at the time each “forward-looking
 12
      statement” was made, the speaker knew the “forward-looking statement” was
 13
      false or misleading and the “forward-looking statement” was authorized and/or
 14
      approved by an executive officer of Illumina who knew that the “forward-looking
 15
      statement” was false. Alternatively, none of the historic or present-tense
 16
      statements made by the defendants were assumptions underlying or relating to any
 17
      plan, projection, or statement of future economic performance, as they were not
 18
      stated to be such assumptions underlying or relating to any projection or statement
 19
 20
      of future economic performance when made, nor were any of the projections or

 21   forecasts made by the defendants expressly related to or stated to be dependent on

 22   those historic or present-tense statements when made.
 23                          CLASS ACTION ALLEGATIONS

 24         92.    Lead Plaintiff brings this action as a class action pursuant to Federal

 25   Rule of Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all
 26   those who purchased or otherwise acquired Illumina’s common stock during the
 27   Class Period (the “Class”); and were damaged upon the revelation of the alleged
 28
                                     40
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  1   corrective disclosure. Excluded from the Class are defendants herein, the officers
  2   and directors of the Company, at all relevant times, members of their immediate
  3   families and their legal representatives, heirs, successors or assigns and any entity
  4   in which defendants have or had a controlling interest.
  5         93.    The members of the Class are so numerous that joinder of all
  6   members is impracticable. Throughout the Class Period, Illumina’s common stock
  7   were actively traded on the NASDAQ. While the exact number of Class members
  8   is unknown to Lead Plaintiff at this time and can be ascertained only through
  9
      appropriate discovery, Lead Plaintiff believes that there are hundreds or thousands
 10
      of members in the proposed Class. Record owners and other members of the Class
 11
      may be identified from records maintained by Illumina or its transfer agent and
 12
      may be notified of the pendency of this action by mail, using the form of notice
 13
      similar to that customarily used in securities class actions. As of August 2, 2016,
 14
      the date of the Company’s last quarterly or annual report within the Class Period,
 15
      there were 146.6 million shares of the Company’s common stock outstanding.
 16
      Upon information and belief, these shares are held by thousands, if not millions,
 17
      of individuals located throughout the country and possibly the world. Joinder
 18
      would be highly impracticable.
 19
            94.    Lead Plaintiff’s claims are typical of the claims of the members of
 20
      the Class as all members of the Class are similarly affected by defendants’
 21
 22
      wrongful conduct in violation of federal law that is complained of herein.

 23         95.    Lead Plaintiff will fairly and adequately protect the interests of the

 24   members of the Class and has retained counsel competent and experienced in class

 25   and securities litigation. Lead Plaintiff has no interests antagonistic to or in
 26   conflict with those of the Class.
 27
 28
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  1           96.   Common questions of law and fact exist as to all members of the
  2   Class and predominate over any questions solely affecting individual members of
  3   the Class. Among the questions of law and fact common to the Class are:
  4           (a)   whether the federal securities laws were violated by defendants’ acts
  5                 as alleged herein;
  6           (b)   whether statements made by Defendants to the investing public
  7                 during the Class Period misrepresented material facts about the
  8                 business, operations and management of Illumina;
  9
              (c)   whether the Individual Defendants caused Illumina to issue false and
 10
                    misleading financial statements during the Class Period;
 11
              (d)   whether Defendants acted knowingly or recklessly in issuing false
 12
                    and misleading financial statements;
 13
              (e)   whether the prices of Illumina’s common stock during the Class
 14
                    Period were artificially inflated because of the defendants’ conduct
 15
                    complained of herein; and
 16
              (f)   whether the members of the Class have sustained damages and, if so,
 17
                    what is the proper measure of damages.
 18
              97.   A class action is superior to all other available methods for the fair
 19
      and efficient adjudication of this controversy since joinder of all members is
 20
      impracticable. Furthermore, as the damages suffered by individual Class members
 21
 22
      may be relatively small, the expense and burden of individual litigation make it

 23   impossible for members of the Class to individually redress the wrongs done to

 24   them. There will be no difficulty in the management of this action as a class action

 25   ///
 26   ///
 27   ///
 28
                                         42
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  1                                      COUNT I
  2                               Against All Defendants
         for Violations of Section 10(b) and Rule 10b-5 Promulgated Thereunder
  3
  4         98.    Lead Plaintiff repeats and realleges each and every allegation
  5   contained above as if fully set forth herein.
  6         99.    This Count is asserted against defendants and is based upon Section
  7   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
  8   thereunder by the SEC.
  9         100. During the Class Period, Defendants engaged in a plan, scheme,
 10   conspiracy and course of conduct, pursuant to which they knowingly or recklessly
 11   engaged in acts, transactions, practices and courses of business which operated as
 12   a fraud and deceit upon Lead Plaintiff and the other members of the Class; made
 13   various untrue statements of material facts and omitted to state material facts
 14
      necessary in order to make the statements made, in light of the circumstances
 15
      under which they were made, not misleading; and employed devices, schemes and
 16
      artifices to defraud in connection with the purchase and sale of securities. Such
 17
      scheme was intended to, and, throughout the Class Period, did: (i) deceive the
 18
      investing public, including Lead Plaintiff and other Class members, as alleged
 19
      herein; (ii) artificially inflate and maintain the market price of Illumina common
 20
      stock; and (iii) cause Lead Plaintiff and other members of the Class to purchase or
 21
      otherwise acquire Illumina’s common stock and options at artificially inflated
 22
      prices. In furtherance of this unlawful scheme, plan and course of conduct,
 23
      Defendants, and each of them, took the actions set forth herein.
 24
            101. Pursuant to the above plan, scheme, conspiracy and course of
 25
 26
      conduct, each of the defendants participated directly or indirectly in the

 27   preparation and/or issuance of the quarterly and annual reports, SEC filings, press

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  1   releases and other statements and documents described above, including
  2   statements made to securities analysts and the media that were designed to
  3   influence the market for Illumina’s common stock. Such reports, filings, releases
  4   and statements were materially false and misleading in that they failed to disclose
  5   material adverse information and misrepresented the truth about the Company.
  6         102. By virtue of their positions at the Company, Defendants had actual
  7   knowledge of the materially false and misleading statements and material
  8   omissions alleged herein and intended thereby to deceive Lead Plaintiff and the
  9
      other members of the Class, or, in the alternative, defendants acted with reckless
 10
      disregard for the truth in that they failed or refused to ascertain and disclose such
 11
      facts as would reveal the materially false and misleading nature of the statements
 12
      made, although such facts were readily available to Defendants. Said acts and
 13
      omissions of defendants were committed willfully or with reckless disregard for
 14
      the truth. In addition, each defendant knew or recklessly disregarded that material
 15
      facts were being misrepresented or omitted as described above.
 16
            103. Information showing that Defendants acted knowingly or with
 17
      reckless disregard for the truth is peculiarly within defendants’ knowledge and
 18
      control. As the senior managers and/or directors of the Company, the Individual
 19
      Defendants had knowledge of the details of Illumina’s internal affairs.
 20
            104. The Individual Defendants are liable both directly and indirectly for
 21
 22
      the wrongs complained of herein. Because of their positions of control and

 23   authority, the Individual Defendants were able to and did, directly or indirectly,

 24   control the content of the statements of the Company. As officers and/or directors

 25   of a publicly-held company, the Individual Defendants had a duty to disseminate
 26   timely, accurate, and truthful information with respect to Illumina’s businesses,
 27   operations, future financial condition and future prospects. As a result of the
 28
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  1   dissemination of the aforementioned false and misleading reports, releases and
  2   public statements, the market price of Illumina’s common stock was artificially
  3   inflated throughout the Class Period. In ignorance of the adverse facts concerning
  4   the Company which were concealed by defendants, Lead Plaintiff and the other
  5   members of the Class purchased or otherwise acquired Illumina’s common stock
  6   at artificially inflated prices and relied upon the price of the common stock, the
  7   integrity of the market for the common stock and/or upon statements disseminated
  8   by defendants, and were damaged thereby.
  9
            105. During the Class Period, Illumina’s common stock was traded on an
 10
      active and efficient market. Lead Plaintiff and the other members of the Class,
 11
      relying on the materially false and misleading statements described herein, which
 12
      the defendants made, issued or caused to be disseminated, or relying upon the
 13
      integrity of the market, purchased or otherwise acquired shares of Illumina’s
 14
      common stock at prices artificially inflated by defendants’ wrongful conduct. Had
 15
      Lead Plaintiff and the other members of the Class known the truth, they would not
 16
      have purchased or otherwise acquired said common stock, or would not have
 17
      purchased or otherwise acquired them at the inflated prices that were paid. At the
 18
      time of the purchases and/or acquisitions by Lead Plaintiff and the Class, the true
 19
      value of Illumina’s common stock was substantially lower than the prices paid by
 20
      Lead Plaintiff and the other members of the Class. The market price of Illumina’s
 21
 22
      common stock declined sharply upon public disclosure of the facts alleged herein

 23   to the injury of Lead Plaintiff and Class members.

 24         106. By reason of the conduct alleged herein, Defendants knowingly or

 25   recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
 26   and Rule 10b-5 promulgated thereunder.
 27
 28
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  1         107. As a direct and proximate result of defendants’ wrongful conduct,
  2   Lead Plaintiff and the other members of the Class suffered damages in connection
  3   with their respective purchases, acquisitions and sales of the Company’s common
  4   stock during the Class Period, upon the disclosure that the Company had been
  5   disseminating misrepresented financial statements to the investing public.
  6
                                           COUNT II
  7
                      Against the Individual Defendants and Illumina
  8                  for Violations of Section 20(a) of the Exchange Act
  9         108. Lead Plaintiff repeats and realleges each and every allegation
 10   contained in the foregoing paragraphs as if fully set forth herein.
 11
            109. During the Class Period, the Individual Defendants participated in the
 12
      operation and management of the Company, and conducted and participated,
 13
      directly and indirectly, in the conduct of the Company’s business affairs. Because
 14
      of their senior positions, they knew the adverse non-public information about
 15
      Illumina’s misstatements.
 16
            110. As officers and/or directors of a publicly owned company, the
 17
      Individual Defendants had a duty to disseminate accurate and truthful information,
 18
      and to correct promptly any public statements issued by Illuminia which had
 19
      become materially false or misleading.
 20
            111. Because of their positions of control and authority as senior officers,
 21
      the Individual Defendants were able to, and did, control the contents of the
 22
      various reports, press releases and public filings which Illumina disseminated in
 23
 24
      the marketplace during the Class Period concerning the misrepresentations.

 25   Throughout the Class Period, the Individual Defendants exercised their power and

 26   authority to cause Illumina to engage in the wrongful acts complained of herein.
 27   The Individual Defendants therefore, were “controlling persons” of the Company
 28
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  1   within the meaning of Section 20(a) of the Exchange Act. In this capacity, they
  2   participated in the unlawful conduct alleged which artificially inflated the market
  3   price of Illumina’s common stock.
  4         112. Each of the Individual Defendants, therefore, acted as a controlling
  5   person of the Company. By reason of their senior management positions and/or
  6   being directors of the Company, each of the Individual Defendants had the power
  7   to direct the actions of, and exercised the same to cause, Illumina to engage in the
  8   unlawful acts and conduct complained of herein. Each of the Individual
  9
      Defendants exercised control over the general operations of the Company and
 10
      possessed the power to control the specific activities which comprise the primary
 11
      violations about which Lead Plaintiff and the other members of the Class
 12
      complain.
 13
            113. By reason of the above conduct, the Individual Defendants and/or
 14
      Illumina are liable pursuant to Section 20(a) of the Exchange Act for the
 15
      violations committed by the Company.
 16
                                    PRAYER FOR RELIEF
 17
            WHEREFORE, Lead Plaintiff demand judgment against defendants as
 18
      follows:
 19
            A.     Determining that the instant action may be maintained as a class
 20
      action under Rule 23 of the Federal Rules of Civil Procedure, and certifying Lead
 21
 22
      Plaintiff as the Class representatives;

 23         B.     Requiring Defendants to pay damages sustained by Lead Plaintiff

 24   and the Class by reason of the acts and transactions alleged herein;

 25         C.     Awarding Lead Plaintiff and the other members of the Class pre-
 26   judgment and post-judgment interest, as well as their reasonable attorneys’ fees,
 27   expert fees and other costs; and
 28
                                     47
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  1         D.      Awarding such other and further relief as this Court may deem just
  2   and proper.
  3                          DEMAND FOR TRIAL BY JURY
  4         Lead Plaintiff hereby demands a trial by jury.
  5
  6   Dated: May 30, 2017             /s/ Adam C. McCall
                                      LEVI & KORSINSKY LLP
  7                                   Adam C. McCall (SBN 302130)
  8                                   445 South Figueroa Street, 31st Floor
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 10                                   Fax: (202) 333-2121
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 18
                                      pro hac vice to be submitted
 19
 20                                   Attorneys for Lead Plaintiff Natissisa
                                      Enterprises Ltd. and Lead Counsel for Class
 21
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 23
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  1                           CERTIFICATE OF SERVICE
  2         I hereby certify that on May 30, 2017, I electronically filed the document(s)
  3   with the Clerk of the Court by using the CM/ECF System for filing and
  4   transmittal of a Notice of Electronic Filing ("NEF") was automatically generated
  5   to the CM/ECF registrants on record.       Participants in the case who are not
  6   registered CM/ECF users will be served by mail or by other means permitted by
  7   the court rules.
  8   Dated: May 30, 2017                         s/ Adam C. McCall
  9                                               Adam C. McCall
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                                  CERTIFICATE OF SERVICE
                                                            Master File No. 3:16-CV-03044-L-MDD
